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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 ELECTRONIC PRIVACY INFORMATION

 CENTER

                Plaintiff,
                                                    Civil Action No. 16-1402 (ABJ)
                         v.

 U.S. DEPARTMENT OF JUSTICE,

                Defendant.


                NOTICE REGARDING SERVICE OF COMPLAINT AND
                 MOTION TO SET DUE DATE FOR DEFENDANT TO
                ANSWER OR OTHERWISE RESPOND TO COMPLAINT


       Plaintiff commenced this action on July 5, 2016, pursuant to the Freedom of Information

Act (FOIA), 5 U.S.C. § 552, seeking access to records that it asserts are maintained by the

United States Department of Justice, Office of Inspector General. Complaint (ECF No. 1).

Plaintiff subsequently filed an “Affidavit of Mailing” indicating that a copy of the summons was

sent as Certified Mail Article Number 7015 1520 0000 5320 5183, addressed to “US Attorney;

555 Fourth St., NW; Washington DC 20530,” on July 6, 2016. See ECF No. 6-4.

       The United States Attorney=s Office for the District of Columbia is located at 555 Fourth

Street, NW, Washington, D.C., the address to which Article Number 7015 1520 0000 5320 5183

was sent. However, because of safety precautions implemented in response to the anthrax

attacks in 2001, mail addressed to the Office is initially routed through the main mail room for

the Department of Justice. This is accomplished through use of the ZIP Code 20530.

Declaration of Daniel F. Van Horn (“Van Horn Dec.”), attached hereto as Exhibit 1, ¶ 3.
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       Although it appears that the certified mail package designated Article Number 7015 1520

0000 5320 5183 was received at the Department of Justice mailroom on July 11, 2016, none of

the personnel who work at the Department of Justice=s mail room are employees of the United

States Attorney’s Office, none of them have been designated to function as a civil process clerk

for that Office, and none of them are authorized to receive service of civil actions on behalf of

the United States Attorney. Id. ¶ 4.

       There is no record indicating that the service package for this case was ever received by

anyone who is authorized to receive service of civil actions on behalf of the United States

Attorney. Id. ¶4. The United States Attorney’s Office’s procedure for recording receipt of

service in a civil action is for a civil process clerk to write the date of receipt on the summons

and to record the name of the case and the civil action number in a calendar book (the AService

Book@) maintained for that purpose. Id. ¶5. There is no entry in the Service Book reflecting

service of the summons and complaint for the above-captioned civil action from July 11, 2016,

to the present. Id. ¶¶ 5-7. In addition, the Office’s Civil Division maintains a Certified Mail Log

with the article numbers for all incoming certified mail received by the Civil Division, and there

is no entry reflecting receipt of Article Number 7015 1520 0000 5320 5183 during that period.

Id.

       FOIA requires a defendant federal agency to respond to a complaint within 30 days after

the complaint is served on the agency. 5 U.S.C. § 552(a)(4)(C). In order to serve an agency

under Fed. R. Civ. P. 4(i)(2), the plaintiff must, inter alia, “serve the United States” as prescribed

in Fed. R. Civ. P. 4(i)(1). To serve the United States the plaintiff must:

       (i)      deliver a copy of the summons and complaint to the United States attorney for the
                district where the action is brought – or to an assistant United States attorney or
                clerical employee whom the United States attorney designates in a writing filed
                with the court clerk – or

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        (ii)       send a copy of each by registered or certified mail to the civil-process clerk at the
                   United States attorney’s office.

Fed. R. Civ. P. 4(i)(1)(A). When sent by registered or certified mail, service is not effective

unless and until the service package is actually received by the civil process clerk. Morse v.

Elmira Country Club, 752 F.2d 35, 42 (2d Cir. 1984) (noting that “service was effective where

the recipient received the mail and accordingly obtained actual notice”); cf. Woodruff v. Peters,

482 F.3d 521, 525 (D.C. Cir. 2007) (rejecting untimeliness defense in absence of “hard proof” of

actual receipt).

        Because the civil process clerk at the United States Attorney’s Office did not receive

service of process in this case, the United States has not been properly served, and the Defendant

is currently under no obligation to respond to the complaint. See, e.g., Murphy Brothers v.

Michetti Pipe Stringing, 526 U.S. 344, 347 (1999) (“[s]ervice of process, under longstanding

tradition in our system of justice, is fundamental to any procedural imposition on a named

defendant”); Scott v. District of Columbia, 598 F. Supp. 2d 30, 36 (D.D.C. 2009) (defendant’s

obligation to respond to a complaint arises only upon proper service of the summons and

complaint).

        The appropriate personnel within the Civil Division at the United States Attorney’s

Office did not become aware of this case until August 16, 2016. Van Horn Dec., ¶ 7. In order to

avoid further delay and the administrative inconvenience of requiring Plaintiff to re-serve the

summons and complaint, Defendant will, subject to the Court’s approval, waive the requirement

for formal service and treat the complaint as having been served on August 16, 2016, the date on

which actual notice of the case was first obtained by responsible personnel at the United States

Attorney’s Office. Accordingly, Defendant requests that the Court enter an Order setting



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September 9, 2016 (i.e., approximately 30 days after the deemed date of service) as the due date

for Defendant to answer or otherwise respond to Plaintiff’s complaint. 1

       If deemed necessary by the Court, Defendant in the alternative moves pursuant to Fed. R.

Civ. P. 6(b)(1)(B), that the Court extend the time, nunc pro tunc, for Defendant to answer or

otherwise respond to the Complaint to and including September 9, 2016. Defendant respectfully

submits that the lack of proper service and absence of actual notice of the case by the appropriate

personnel at the United States Attorney’s Office establishes both good cause for the requested

extension as well as “excusable neglect” for Defendant’ failure to act earlier.

       The parties conferred under Local Rule 7(m) and counsel for Plaintiff indicated that

“EPIC would consent to a one-week extension for the DOJ’s answer (Aug. 24), which would be

a two-week extension from the original deadline (Aug. 10).”

       Additional time is necessary so that the undersigned counsel can confer with the agency

to learn more about the circumstances underlying Plaintiff’s FOIA claims. However, the

undersigned counsel has other immediate existing deadlines in a full docket of active cases. For

instance, the undersigned counsel has motions in limine and a trial brief due on Friday August 19

in Arnold v. Jewel, Civ. No. 05-1475 (ESH), and the parties’ joint pre-trial statement is due the

following Thursday August 25. In addition, the undersigned counsel has to file a response in

Attkisson v. Holder, Civ. No. 15-238 (ESG), on August 26, where the court has previously

granted several extensions of time. For the week of August 29, the undersigned is scheduled to

prepare agency witnesses for depositions in a Title VII matter and defend those depositions.




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        As mentioned above, under 5 U.S.C. § 552(a)(4)(C), a federal agency has 30 days to
respond to a properly served FOIA complaint. Here, counting from August 16, 2016, the 30th
day is on September 16, 2016. However, earlier today, the undersigned counsel conferred with
Plaintiff’s counsel and only sought an extension of time until September 9, 2016.
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Furthermore, additional time is needed for the undersigned counsel to prepare any draft response

in this case for supervisory and agency review prior to filing it with the Court.

       There is nothing in the record to suggest that granting this Motion would unduly

prejudice the Plaintiff or affect the Court’s orderly administration of this case.

       For the foregoing reasons, Defendant respectfully requests that the Court the deadline of

September 9, 2016, for Defendant to respond to Plaintiff’s FOIA Complaint.

       A proposed order is submitted herewith.

August 17, 2016                                Respectfully submitted,
                                               CHANNING D. PHILLIPS
                                               D.C. Bar #415793
                                               United States Attorney

                                               DANIEL F. VAN HORN
                                               D.C. BAR # 924092
                                               Chief, Civil Division

                                       By:     ______//s______________
                                               JOHN C. TRUONG
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                             UNITED STATES DISTRICT COURT
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 U.S. DEPARTMENT OF JUSTICE,

               Defendant.



                                  [PROPOSED] ORDER

       Upon Consideration of Defendant’s Proposed Scheduling Order, the Court hereby orders

that the Defendant file an answer or otherwise respond to Plaintiff’s complaint no later than

September 9, 2016.

       It is so ORDERED by the Court this _____ day of _______________, 2016.




                                          __________________________________
                                          UNITED STATES DISTRICT JUDGE




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